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    __________________________________________________________________
                                                     SO ORDERED,




                                                    Judge Katharine M. Samson
                                                    United States Bankruptcy Judge
                                                    Date Signed: June 22, 2020


            The Order of the Court is set forth below. The docket reflects the date entered.
    __________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: PATRICIA ANN PARKER

         DEBTOR(S)
                                                                                     CHAPTER 13 BANKRUPTCY
DAVID RAWLINGS, TRUSTEE                                                                 CASE NO. 16-51761 KMS

                                      ORDER ON TRUSTEE'S
                              MOTION TO ALLOW SUPPLEMENTAL CLAIM

    THIS DAY, THIS CAUSE came on to be considered on the Trustee's Motion to Allow the
Supplemental Claim (Court Claim No. 5) of U.S. BANK TRUST N.A. (Docket No. 97 ).


    IT IS, THEREFORE, ORDERED AND ADJUDGED that said Supplemental Claim is allowed as a Special
Claim in the amount of $575.00 and shall be paid pursuant to the provisions of the Confirmed Plan, which is
modified in accord herewith, and other orders of the Court, with the Trustee being authorized to adjust the
amount of the Plan payment, as needed, to pay said Claim in the time remaining in the Plan.


    IT IS, FURTHER, ORDERED AND ADJUDGED that the Debtor is given 30 days from the entry of this
Order within which to file a written application for modification of this Order, and in the absence of such
application, this Order shall become final.


                                              ##END OF ORDER##
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Submitted By:

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